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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
TRENTON VICINAGE

BRISTOL MYERS SQUIBB
COMPANY,
Plaintiff,

v.
XAVIER BECERRA, in his official
capacity as Secretary of the Department

of Health and Human Services, ef a/,

Defendants.

JANSSEN PHARMACEUTICALS,
INC.,
Plaintiff,

v.
XAVIER BECERRA, in his official
capacity as Secretaty of the Department

of Health and Human Services, ef a/,

Defendants.

Case No, 3:23-cv-3335-ZNQ-JBD

Case No. 3:23-cv-3818-ZNQ-JBD

ORDER

Upon consideration of Defendants’ July 28, 2023 letter in the above-captioned

matters, and the entire record herein, it is hereby ORDERED that the following

schedule shall govern further proceedings in these cases:

e August 16: Plaintiffs’ motions for summary judgment (one brief for each

Plaintiff, not to exceed 40 pages each)

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¢ October 16: Defendants’ combined opposition and cross-motion for summary
judgment (one combined brief, not to exceed 80 pages, to be filed on the
docket in both cases)

e November 10: Plaintiffs’ combined replies in support of their motions for
summary judgment and oppositions to Defendants’ cross-motion for summary
judgment (one combined brief for each Plaintiff, not to exceed 40 pages each)

e December 8: Defendants’ reply in support of their cross-motion for summary
judgment (one brief, not to exceed 30 pages, to be filed on the docket in both
cases)

It is further ORDERED that the patties need not file statements of material
fact under Local Civil Rule 56.i(a), and it is further
ORDERED that Defendants need not file an answer to the complaints.

SO ORDERED.

ft e

The Honorable Zahid N. Quraishi
United States District Judge

